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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION
 WATER REPLENISHMENT DISTRICT OF
 SOUTHERN CALIFORNIA,                               )
                                                    )
                 Plaintiff,                         )      MDL No. 2873
                                                    )
         v.                                         )
                                                           Master Docket No. 2: l 8-mn-2873
                                                    )
  3M COMPANY (f/k/a Minnesota Mining and            )
  Manufacturing, Co.), E.I. DU PONT DE              )      Judge Richard Mark Gergel
  NEMOURS AND COMP ANY, THE                         )
  CHEMOURS COMPANY L.L.C. F/K/A THE                 )      Civil Action No. 2:21-cv-3669-RMG
  CHEMOURS COMP ANY, DUPONT DE                      )
  NEMOURS, INC., CORTEVA, INC.,                     )
  CHEMGUARD, INC., TYCO FIRE                        )      NOTICE OF FILING
  PRODUCTS LP (successor-in-interest to the         )
  Ansul Co.), BUCKEYE FIRE EQUIPMENT                )
  COMPANY, KIDDE FENWAL, INC.,                      )
  NATIONAL FOAM, INC., ARKEMA, INC.,                )
  AGC CHEMICALS AMERICAS, INC.,                     )
  DYNAX CORPORATION, and                            )
  CLARIANT CORPORATION; JOHN DOE                    )
  DEFENDANTS 1-49,                                  )
                                                    )
              Defendants.                           )

       Included as an attachment to this filing is the Water Replenishment District of Southern California

("Plaintiff') Affidavit of Service of the Summons and Complaint with annexed Supplement A setting

forth the date, method, and manner of service of Plaintiffs' Complaint, filed on November 9, 2021, with

the Clerk of Court's Summons signed on November 9, 2021.

Dated: 11/11/2021
                                                    SL ENVIRONMENTAL LAW GROUP PC

                                                    Isl Ashley B. Campbell
                                                    Ashley B. Campbell, Esquire
                                                    SL ENVIRONMENTAL LAW GROUP PC
                                                     I 75 Chestnut Street
                                                    San Francisco, CA 94133
                                                    Tel. 415.348.8300
                                                    E-mail: acampbell@slenvironment.com
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

 WATER REPLENISHMENT DISTRICT OF )
 SOUTHERN CALIFORNIA,            )
                                              )
                Plaintiff,                    )       MDLNo.2873
                                              )
        v.                                    )
                                                      Master Docket No. 2:18-mn-2873
                                              )
  3M COMPANY (f/k/a Minnesota Mining          )
  and Manufacturing, Co.), E.I. DU PONT DE    )       Judge Richard Mark Gergel
  NEMOURS AND COMPANY, THE                    )
  CHEMOURS COMPANY L.L.C. F/K./A              )       Civil Action No. 2:21-cv-3669-RMG
  THE CHEMOURS COMPANY, DUPONT                )
  DE NEMOURS, INC., CORTEVA, INC.,            )
  CHEMGUARD, INC., TYCO FIRE                  )       NOTICE OF FILING
  PRODUCTS LP (successor-in-interest to the   )
  Ansul Co.), BUCKEYE FIRE EQUIPMENT          )
  COMPANY, KIDDE FENWAL, INC.,                )
  NATIONAL FOAM, INC., ARKEMA,                )
  INC., AGC CHEMICALS AMERICAS,               )
  INC., DYNAX CORPORATION, and                )
  CLARIANT CORPORATION; JOHN DOE              )
  DEFENDANTS 1-49,                            )
                                              )
                Defendants.                   )


                                AFFIDAVIT OF SERVICE

STATE OF NEW HAMPSHIRE )
COUNTYOFMERRIMACK      )

      ASHLEY CAMPBELL,

       I am over eighteen years old and am not a party to this action. I served copies of the
Summons and the Water Replenishment District of Southern California's Complaint in the above-
captioned action on Defendants, pursuant to Case Management Order Nos. 6, 6.A, 6.B, 6.C, 6.D,
and 6.E in In re: Aqueous Film-Forming Foams Products Liability Litigation, 2:18-mn-02873-
RMG (D.S.C.), as follows:




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       1. On November 10, 2021 , by emailing and mailing if required, a copy of the Summons
and Complaint to counsel for Defendants via the email addresses and mailing addresses, listed on
the annexed Supplement A.



Dated: 11/11/2021




STATE OF NEW HAMPSHIRE )
COUNTYOFMERRIMACK      )

      On the 11th day of November in the year 2021 , before me, the undersigned, personally
appeared Ashley B. Campbell, personally known to me or proved to me on the basis of satisfactory
evidence to be the individual whose name is here subscribed to the within instrument and
acknowledged to me that he executed the same in her capacity, and that by her signature on the
instrument, the individual, or the person upon behalf of which the individual acted, executed the
instrument.




Print: Michelle R. Preve

Title or Office: Notary Public

My commission expires:     l   I~ 1~ D;-2.S-



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                                          SUPPLEMENT A


3M COMP ANY (f/k/a Minnesota Mining and Manufacturing, Co.)
3M has agreed to accept service of this Complaint via email in lieu of formal requirements via:
3M_Service_AFFF_MDL@duffyandyoung.com

E.I. DU PONT DE NEMOURS AND COMP ANY
DuPont has agreed to accept service of this Complaint via email in lieu of the formal requirements via:
DBDWERLK.OTTE@shb.com, jhackman@shb.com, and sdrum@shb.com.

THE CHEMOURS COMPANY L.L.C. F/K/A THE CHEMOURS COMPANY
The Chemours Company has agreed to accept service of this Complaint via email in lieu of the formal
requirements via: DBDWERLK.OTTE@shb.com, and jhackman@shb.com, and sdrum@shb.com.

DUPONT DE NEMOURS INC.
DuPont de Nemours, Inc. has agreed to accept service of this Complaint via email in lieu of the formal
requirements via: AFFFservice@bartlitbeck.com

CORTEVA, INC.
Corteva, Inc. has agreed to accept service of this Complaint via email in lieu of the formal requirements
via: AFFFservice@bartlitbeck.com
CHEMGUARD, INC.
Chemguard has agreed to accept service of this Complaint via email in lieu of the formal requirements
via: mdlafff@jci.com and afffservice@wc.com.
TYCO FIRE PRODUCTS LP (successor-in-interest to The Ansul Co,)
Tyco has agreed to accept service of this Complaint via email in lieu of the formal requirements via:
mdlafff@jci.com and afffservice@wc.com.

BUCKEYE FIRE EQUIPMENT COMPANY
Buckeye has agreed to accept service of this Complaint via email and regular mail in lieu of the formal
requirements via: mcarpenter@gastonlegal.com, msingleton@gastonlegal.com, along with a copy via
regular mail to:
Michael L. Carpenter
Gray, Layton, Kersh, Solomon, Furr & Smith, P.A. 516
South New Hope Road
Post Office Box 2636 Gastonia, NC 28053




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KIDDE FENWAL, INC.
Kidde-F enwal has agreed to accept service of this Complaint via email in lieu of the formal
requirements via: KiddeDefendantsAFFF@daypitney.com.

UTC FIRE AND SECURITY AMERICAS CORP.
UTC Fire and Security Americas Corp, has agreed to accept service of this Complaint via email in lieu
of the formal requirements via: KiddeDefendantsAFFF@daypitney.com,

CARRIER GLOBAL CORPORATION
Carrier Global Corporation has agreed to accept service of this Complaint via email in lieu of the formal
requirements via: KiddeDefendantsAFFF@daypitney.com.

NATIONAL FOAM, INC.
National Foam has agreed to accept service of this Complaint via email in lieu of the formal
requirements via: smithkei@gtlaw.com.

ARKEMA, INC.
Arkema, Inc, has agreed to accept service of this Complaint via email in lieu of the formal requirements
via: AFFFArkemaService@sidley.com

AGC CHEMICALS AMERICAS, INC.
AGC Chemicals Americas, Inc. has agreed to accept service of this Complaint via email in lieu of the
formal requirements via: agccaservice@crowell.com

DYNAX CORPORATION
Dynax Corporation has agreed to accept service of this Complaint via email in lieu of the formal
requirements via: kwarner@smithlaw.com, cbrinson@smithlaw.com, aries@smithlaw.com, and
cbona@smithlaw.com.

CLARIANT CORPORATION
Clari ant Corporation has agreed to accept service of this Complaint via email in lieu of the formal
requirements via: robertjordan@parkerpoe.com; steveweber@parkerpoe.com;
charlesraynal@parkerpoe.com; and janicestafford@parkerpoe.com

ARCHROMA US, INC.
Archroma US, Inc. has agreed to accept service of this Complaint via email in lieu of the formal
requirements via: robertjordan@parkerpoe.com; steveweber@parkerpoe.com;
charlesraynal@parkerpoe.com; and janicestafford@parkerpoe.com




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